Case 2:18-cv-02217-SJO-FFM Document 30 Filed 04/09/18 Page 1 of 28 Page ID #:493



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 6

 7

 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10

11   STEPHANIE CLIFFORD a.k.a.                     CASE NO.: 2:18-cv-02217-SJO-FFM
     STORMY DANIELS a.k.a. PEGGY
12   PETERSON, an individual,
                                                   PLAINTIFF’S OPPOSITION TO
13                       Plaintiff,                DEFENDANT ESSENTIAL
14         vs.                                     CONSULTANT, LLC’S MOTION TO
                                                   COMPEL ARBITRATION
15
     DONALD J. TRUMP a.k.a. DAVID
16   DENNISON, and individual,                     Hearing Date: April 30, 2018
     ESSENTIAL CONSULTANTS, LLC, a                 Hearing Time: 10:00 a.m.
17   Delaware Limited Liability Company,           Location:     350 West 1st Street
     MICHAEL COHEN and DOES 1
18   through 10, inclusive,                                      Courtroom 10C
                                                                 Los Angeles, CA 90012
19
                         Defendants.
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                 PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
                                  MOTION TO COMPEL ARBITRATION
Case 2:18-cv-02217-SJO-FFM Document 30 Filed 04/09/18 Page 2 of 28 Page ID #:494



 1
                                   TABLE OF CONTENTS
 2   I.     INTRODUCTION ..................................................................................................... 1
 3   II.    STATEMENT OF FACTS ........................................................................................ 2
 4
            A.       The Settlement Agreement .............................................................................. 2
 5
            B.       Mr. Cohen Claims Mr. Trump Had Nothing to Do With the
 6                   Agreement. ...................................................................................................... 2
 7
            C.       Mr. Trump and the White House Deny Any Involvement With
 8                   the Settlement Agreement. .............................................................................. 3
 9   III.   ARGUMENT ............................................................................................................. 3
10
            A.       Plaintiff’s Assertion that No Agreement Was Formed Is an
11                   Issue For the Court to Decide. ......................................................................... 3
12          B.       EC Does Not Have Standing to Compel Arbitration. ..................................... 5
13
            C.       Mr. Trump Does Not Petition to Compel Arbitration and Has
14                   Not Met His Burden. ....................................................................................... 6
15          D.       No Agreement Was Formed Because Mr. Trump Failed to
16                   Sign the Agreement and Deliver the Promised Consideration
                     to Plaintiff. ....................................................................................................... 7
17
                     1.       No Agreement Exists Because Mr. Trump’s Signature
18
                              Was an Express Condition to the Formation of the
19                            Agreement. ............................................................................................ 7
20                   2.       Mr. Trump Was Incapable of Consenting to a Contract
21                            Which Imposed Duties on Him That He Was
                              Supposedly Unaware Of. .................................................................... 10
22
                     3.       EC’s Argument Regarding Adequacy of Consideration
23
                              Is Irrelevant to this Motion.................................................................. 12
24
            E.       The Presence of the Term “And/Or” in the Agreement in
25                   Connection With the Parties Does Not Save the Agreement. ....................... 13
26
            F.       Plaintiff’s Signature on the Settlement Agreement and Her
27                   Acceptance of Funds Did Not Create a Contract. ......................................... 16
28
                                                   -i-
                   PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
                                    MOTION TO COMPEL ARBITRATION
Case 2:18-cv-02217-SJO-FFM Document 30 Filed 04/09/18 Page 3 of 28 Page ID #:495



 1         G.       Defendants’ Position that Mr. Trump Was Not a Contemplated
                    Party Constitutes Fraud in the Execution Rendering the
 2                  Agreement Void. ........................................................................................... 19
 3
     IV.   CONCLUSION ........................................................................................................ 20
 4

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                                                -ii-
                 PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
                                  MOTION TO COMPEL ARBITRATION
Case 2:18-cv-02217-SJO-FFM Document 30 Filed 04/09/18 Page 4 of 28 Page ID #:496



 1                                              TABLE OF AUTHORITIES

 2
                                                                 CASES
 3

 4    Abraham Zion Corp. v. Lebow,
       761 F.2d 93 (2d Cir.1985) ........................................................................................... 11
 5

 6    Am. Aeronautics Corp. v. Grand Cent. Aircraft Co.,
       155 Cal. App. 2d 69 (1957) ........................................................................................... 9
 7

 8    AT & T Techs., Inc. v. Commc'ns Workers of Am.,
       475 U.S. 643 (1986) ...................................................................................................... 4
 9

10    Bank Bldg. & Equip. Corp. of Am. v. Georgia State Bank,
       132 Ga. App. 762, 209 S.E.2d 82 (1974) .................................................................... 13
11
      Banner Entertainment, Inc. v. Superior Court,
12
       62 Cal. App. 4th 348 (1998) ................................................................................. passim
13
      Barnhart Aircraft v. Preston,
14     212 Cal. 19 (1931) ....................................................................................................... 18
15
   Barraza v. Cricket Wireless LLC,
16  No. C 15-02471 WHA, 2015 WL 6689396 (N.D. Cal. Nov. 3, 2015) ......................... 4
17 Beck v. American Health,
18  211 Cal. App. 3d 1555 (1989) ....................................................................................... 9
19    Britton v. Co-op Banking Grp.,
        4 F.3d 742 (9th Cir. 1993) ............................................................................................. 6
20

21 Buckeye Check Cashing, Inc. v. Cardegna,
22
     546 U.S. 440 (2006) ...................................................................................................... 5

23    Bustamante v. Intuit, Inc.,
       141 Cal. App. 4th 199 (2006) ...................................................................................... 10
24

25
      California Shipbuilding Corp. v. Indus. Acc. Comm’n,
       85 Cal. App. 2d 435 (1948) ......................................................................................... 14
26
      Casa del Caffe Vergnano S.P.A. v. ItalFlavors, LLC,
27     816 F.3d 1208 (9th Cir. 2016) ............................................................................. 4, 5, 10
28
                                                     -iii-
                      PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
                                       MOTION TO COMPEL ARBITRATION
Case 2:18-cv-02217-SJO-FFM Document 30 Filed 04/09/18 Page 5 of 28 Page ID #:497



 1    Comedy Club, Inc. v. Improv W. Assocs.,
       553 F.3d 1277 (9th Cir. 2009) ....................................................................................... 4
 2
      Comer v. Micor, Inc.,
 3
       278 F.Supp.2d 1030 (N.D. Cal. 2003)......................................................................... 11
 4
      CPR for Skid Row v. City of Los Angeles,
 5     779 F.3d 1098 (9th Cir. 2015) ..................................................................................... 14
 6
   Davison v. Stephens Inst.,
 7  No. A138953, 2014 WL 6654690 (Cal. Ct. App. Nov. 24, 2014) .............................. 17
 8 De Mott v. Amalgamated Meat Cutters & Butcher Workmen of N. Am.,
 9  157 Cal. App. 2d 13 (1958) ........................................................................................... 9

10    Dinkins v. Am. Nat’l Ins. Co.,
       92 Cal. App. 3d 222 (1979) ......................................................................................... 14
11

12    DKS, Inc. v. Corp. Bus. Sols., Inc.,
       675 F. App’x 738 (9th Cir. 2017) ................................................................................ 20
13
      Doherty v. Barclays Bank Delaware,
14
       No. 16-CV-01131-AJB-NLS, 2017 WL 588446 (S.D. Cal. Feb. 14, 2017) ................. 4
15
      Duferco Steel Inc. v. M/V Kalisti,
16     121 F.3d 321 (7th Cir. 1997) ......................................................................................... 7
17
   Duick v. Toyota Motor Sales, U.S.A., Inc.,
18  198 Cal. App. 4th 1316 (2011) .............................................................................. 19, 20
19 Duran v. Duran,
20  150 Cal. App. 3d 176 (1983) ......................................................................................... 9
21    Esparza v. Sand & Sea, Inc.,
        2 Cal. App. 5th 781 (2016) .................................................................................... 10, 11
22

23    Estakhrian v. Obenstine,
        320 F.R.D. 63 (C.D. Cal. 2017)................................................................................... 11
24

25
      Evox Prods. LLC v. Kayak Software Corp.,
       No. CV15-5053 PSG (AGRX), 2017 WL 5634858 (C.D. Cal. Apr. 4, 2017) ........... 18
26
      F.B.T. Prods., LLC v. Aftermath Records,
27      621 F.3d 958 (9th Cir. 2010) ....................................................................................... 18
28
                                                    -iv-
                     PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
                                      MOTION TO COMPEL ARBITRATION
Case 2:18-cv-02217-SJO-FFM Document 30 Filed 04/09/18 Page 6 of 28 Page ID #:498



 1    Goldman, Sachs & Co. v. City of Reno,
       747 F.3d 733 (9th Cir. 2014) ......................................................................................... 5
 2
      Granite Rock Co. v. Int’l Bhd. of Teamsters,
 3
       561 U.S. 287 (2010)....................................................................................................... 5
 4
      Grill v. BAC Home Loans Servicing LP.,
 5     No. 10-CV-03057-FCD/GGH, 2011 WL 127891 (E.D. Cal. Jan. 14, 2011)................ 8
 6
   Guadagno v. E*Trade Bank,
 7  592 F. Supp. 2d 1263 (C.D. Cal. 2008) ..................................................................... 5, 6
 8 Helperin v. Guzzardi,
 9  108 Cal. App. 2d 125 (1951) ......................................................................................... 9

10    Herbert H. Post & Co. v. Sidney Bitterman, Inc.,
       219 A.D.2d 214, 639 N.Y.S.2d 329 (1996)................................................................. 13
11

12    In re Bell,
        19 Cal. 2d 488 (1942) .................................................................................................. 13
13
      In re Captain Blythers, Inc.,
14
        311 B.R. 530 (B.A.P. 9th Cir. 2004) ........................................................................... 15
15
      J.B. Enterprises Int'l, L.L.C. v. Sid & Marty Krofft Pictures Corp.,
16      No. CV 02-7779 CBM (SHX), 2003 WL 21037837 (C.D. Cal. Mar. 3, 2003) ...... 8, 17
17
   Jackson v. Grant,
18   890 F.2d 118 (9th Cir. 1989) ....................................................................................... 13
19 Kaneko v. Okuda,
20  195 Cal. App. 2d 217 (1961) ....................................................................................... 10
21    Khajavi v. Feather River Anesthesia Med. Grp.,
       84 Cal. App. 4th 32 (2000) ............................................................................................ 8
22

23    Knutson v. Sirius XM Radio Inc.,
       771 F.3d 559 (9th Cir. 2014) ....................................................................................... 18
24

25
      Kramer v. Toyota Motor Corp.,
       705 F.3d 1122 (9th Cir. 2013) ....................................................................................... 6
26
      Los Angeles Rams Football Club v. Cannon,
27     185 F. Supp. 717 (S.D. Cal. 1960) ................................................................................ 8
28
                                                     -v-
                      PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
                                       MOTION TO COMPEL ARBITRATION
Case 2:18-cv-02217-SJO-FFM Document 30 Filed 04/09/18 Page 7 of 28 Page ID #:499



 1    Lyne v. Bonner,
       129 Cal. App. 2d 743 (1954) ......................................................................................... 9
 2
   Monterey Bay Unified Air Pollution Control Dist. for People of State of California v. U.S.
 3
    Dep’t of Army,
 4  176 F. Supp. 2d 979 (N.D. Cal. 2001)................................................................... 15, 16
 5 Mundi v. Union Sec. Life Ins. Co.,
 6  555 F.3d 1042 (9th Cir. 2009) ....................................................................................... 6

 7    No. B077509,
       1994 WL 814244 (Cal. Ct. App. Sept. 22, 1994) ........................................................ 14
 8

 9    Ollilo v. Clatskanie Peoples’ Util. Dist.,
       170 Or. 173, 132 P.2d 416 (1942) ............................................................................... 13
10
      Ortiz v. America’s Servicing Co.,
11
       No. EDCV 12-191 CAS SPX, 2012 WL 2160953 (C.D. Cal. June 11, 2012) ............. 8
12
      Perez v. DirecTV Grp. Holdings, LLC,
13      251 F. Supp. 3d 1328 (C.D. Cal. 2017) ....................................................................... 18
14
   PSM Holding Corp. v. Nat'l Farm Fin. Corp.,
15   339 F. App’x 693 (9th Cir. 2009) ............................................................................ 8, 17
16 Rebolledo v. Tilly’s, Inc.,
17  228 Cal. App. 4th 900 (2014) ........................................................................................ 8
18    Robinson v. OnStar, LLC,
       No. 16-56412, 2018 WL 1323630 (9th Cir. Mar. 15, 2018) ....................................... 18
19

20    Romo v. Y–3 Holdings, Inc.,
       87 Cal. App. 4th 1153 (2001) ........................................................................................ 8
21
      Rosenthal v. Great W. Fin. Sec. Corp.,
22
       14 Cal. 4th 394 (1996) ................................................................................................. 20
23
      Roth v. Garcia Marquez,
24     942 F.2d 617 (9th Cir. 1991) ..................................................................................... 1, 8
25
   S.E.C. v. Daifotis,
26   No. C 11-00137 WHA, 2011 WL 3295139 (N.D. Cal. Aug. 1, 2011) ......................... 7
27 Sanford v. MemberWorks, Inc.,
28   483 F.3d 956 (9th Cir. 2007) ......................................................................................... 4
                                                    -vi-
                     PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
                                      MOTION TO COMPEL ARBITRATION
Case 2:18-cv-02217-SJO-FFM Document 30 Filed 04/09/18 Page 8 of 28 Page ID #:500



 1   Switch, LLC v. ixmation, Inc.,
      No. 15-CV-01637-MEJ, 2015 WL 4463672 (N.D. Cal. July 21, 2015) ....................... 4
 2
     Three Valleys Mun. Water Dist. v. E.F. Hutton & Co.,
 3
      925 F.2d 1136 (9th Cir. 1991) ....................................................................................... 4
 4
                                                               STATUTES
 5
     9 U.S.C. § 4 ................................................................................................................... 2, 7
 6

 7   Cal. Civ. Code § 1550 ..................................................................................................... 10

 8   Cal. Civ. Code §1565(3) ................................................................................................. 10
 9   Cal. Civ. Code § 1558 ..................................................................................................... 13
10
     Cal. Civ. Code § 1589 ............................................................................................... 17, 18
11
     Cal. Civ. Code § 1641 ..................................................................................................... 15
12
                                                    OTHER AUTHORITIES
13

14   1 Witkin, Summary of Cal. Law, Contracts § 143 (9th ed. 1987) .................................... 8

15

16

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28
                                                     -vii-
                      PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
                                       MOTION TO COMPEL ARBITRATION
Case 2:18-cv-02217-SJO-FFM Document 30 Filed 04/09/18 Page 9 of 28 Page ID #:501



 1   I.    INTRODUCTION
 2         Plaintiff Stephanie Clifford (aka Stormy Daniels) (“Plaintiff”) filed this action
 3   seeking declaratory relief confirming she is not bound by any of the terms and conditions
 4   of a settlement agreement containing a mutual release and terms of non-disclosure,
 5   including the provision of the agreement providing for arbitration (the “Settlement
 6   Agreement” or “Agreement”). Defendant Essential Consultants, LLC’s (“EC”) current
 7   motion to compel arbitration, to which defendant Donald Trump (“Mr. Trump”)
 8   “consents,” is without merit for several reasons.
 9         First, EC has no standing to bring this motion because the arbitration clause is
10   between Plaintiff and “DD.” Further, DD (presumably Mr. Trump) has not met any
11   threshold burden of demonstrating he is an actual party to the Agreement, or to the
12   arbitration clause.
13         Second, paragraph 8.6 of the Settlement Agreement states that “this Agreement,
14   when signed by all Parties, is a valid and binding agreement, enforceable in accordance
15   with its terms” (emphasis added). Mr. Trump, however, never signed the Agreement.
16   The agreement was, therefore, never formed as a matter of law. See Roth v. Garcia
17   Marquez, 942 F.2d 617, 626 (9th Cir. 1991); Banner Entertainment, Inc. v. Superior
18   Court, 62 Cal. App. 4th 348, 358 (1998). Thus, there never was an agreement to arbitrate.
19         Third, the contract was a “Settlement Agreement” to resolve potential litigation
20   between Mr. Trump and Plaintiff that required Mr. Trump to personally provide
21   consideration to Plaintiff in the form of releases, and representations and warranties
22   described as a “material inducement” to Plaintiff to enter into the Agreement. As a result,
23   Plaintiff’s signature and her receipt of funds from EC are insufficient to form a contract.
24   Without the essential consideration from Mr. Trump to Plaintiff, and further, without Mr.
25   Trump’s signature on the Agreement or any form of communicated assent to accept the
26   obligations he owed to Plaintiff, no contract could have been created.
27         Fourth, EC’s dubious attempt to argue that the use of the term “and/or” saves the
28   agreement is devoid of merit. To the contrary, courts have repudiated the use of the term
                                                 -1-
                 PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
                                  MOTION TO COMPEL ARBITRATION
Case 2:18-cv-02217-SJO-FFM Document 30 Filed 04/09/18 Page 10 of 28 Page ID #:502



 1   as creating rampant ambiguity.        Plaintiff also submits the declaration of Professor
 2   Lawrence Solan, a leading expert in the field of linguistic analysis and the law, including
 3   in the use of the terms “and” and “or” in legal writings. Professor Solan concurs that the
 4   term “and/or” as used in the Agreement leaves it unclear as to who the parties actually are
 5   and causes too much uncertainty. Moreover, as shown below, reading the Settlement
 6   Agreement in its entirety leads to the inescapable conclusion that there can be no serious
 7   dispute that Mr. Trump was a contemplated party to the Agreement.
 8         Finally, Plaintiff demands a jury trial pursuant to 9 U.S.C. § 4 for a determination of
 9   whether the Settlement Agreement (which contains the arbitration clause EC seeks to
10   enforce) was ever formed. In addition, to meaningfully oppose this motion, Plaintiff
11   requires limited discovery, as set forth in Plaintiff’s concurrently filed Renewed Motion
12   for Expedited Discovery. Accordingly, before the Court issues a ruling on the motion, the
13   Court must first allow Plaintiff to conduct discovery and must conduct the trial.
14         For these reasons and the reasons stated below, Plaintiff respectfully requests that
15   the Court stay consideration of the motion to compel arbitration until after discovery is
16   complete and the completion of trial. In the alternative, Plaintiff requests the Court deny
17   the motion to compel arbitration in its entirety.
18   II.   STATEMENT OF FACTS
19         A.      The Settlement Agreement
20         The Settlement Agreement is attached to the Declaration of Stephanie Clifford as
21   Exhibit 1.
22         B.      Mr. Cohen Claims Mr. Trump Had Nothing to Do With the Agreement.
23         As alleged in the FAC, Mr. Cohen is an attorney licensed in the State of New York.
24   [FAC, ¶16.] Mr. Cohen worked as the “top attorney” at the Trump Organization from
25   2007 until after the election and presently serves as Mr. Trump’s personal attorney. [Id.]
26   He is also generally referred to as Mr. Trump’s “fixer.” [Id.] Mr. Cohen is also alleged to
27   have formed EC on October 17, 2016, just weeks before the 2016 presidential election and
28   11 days before he signed the Agreement. [Id., ¶18; Cohen Decl., ¶3.]
                                                  -2-
                  PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
                                   MOTION TO COMPEL ARBITRATION
Case 2:18-cv-02217-SJO-FFM Document 30 Filed 04/09/18 Page 11 of 28 Page ID #:503



 1          On February 13, 2018, Mr. Cohen issued a statement that said in part: “In a private
 2   transaction in 2016, I used my own personal funds to facilitate a payment of $130,000 to
 3   Ms. Stephanie Clifford. Neither the Trump Organization nor the Trump campaign was a
 4   party to the transaction with Ms. Clifford, and neither reimbursed me for the payment,
 5   either directly or indirectly.” [FAC, ¶27.]
 6          On March 9, 2018, regarding the $130,000 payment, Mr. Cohen said “[t]he funds
 7   were taken from my home equity line and transferred internally to my LLC account in the
 8   same bank.” [Declaration of Michael Avenatti (“Avenatti Decl.”), Ex. 3.]
 9          In a March 19, 2018 Vanity Fair article, Mr. Cohen again suggested Mr. Trump had
10   no knowledge of the Settlement Agreement or payment. [Avenatti Decl., Ex. 4.] In it, he
11   is quoted as saying: “What I did defensively for my personal client, and my friend, is
12   what attorneys do for their high-profile clients.” [Id.] The article also states that Mr.
13   Cohen “claims that Trump did not know that he had paid Clifford the $130,000.” [Id.]
14
            C.    Mr. Trump and the White House Deny Any Involvement With the
15                Settlement Agreement.
16          White House and campaign representatives purportedly speaking on Mr. Trump’s
17   behalf, have denied that Mr. Trump had any knowledge of, or involvement with, the
18   Settlement Agreement. [See Avenatti Decl., Ex. 5.]
19          On April 5, 2018, Mr. Trump, making his first public comments regarding this
20   dispute, denied having knowledge of the $130,000 payment to Plaintiff under the
21   Settlement Agreement. [Avenatti Decl., Ex. 6.] Mr. Trump stated he did not know where
22   the money came from, denied setting up a fund from which Mr. Cohen could draw from to
23   make the payment, and directed reporters’ questions to Mr. Cohen. [Id.]
24   III.   ARGUMENT
25
            A.    Plaintiff’s Assertion that No Agreement Was Formed Is an Issue For the
26                Court to Decide.
27          EC argues that the initial question of whether an agreement exists at all is one for
28   the Court to decide, not an arbitrator. This position is devoid of merit.
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                 PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
                                  MOTION TO COMPEL ARBITRATION
Case 2:18-cv-02217-SJO-FFM Document 30 Filed 04/09/18 Page 12 of 28 Page ID #:504



 1         “It is axiomatic that ‘[a]rbitration is a matter of contract and a party cannot be
 2   required to submit any dispute which he has not agreed so to submit.’” Sanford v.
 3   MemberWorks, Inc., 483 F.3d 956, 962 (9th Cir. 2007) (quoting AT & T Techs., Inc. v.
 4   Commc'ns Workers of Am., 475 U.S. 643, 648 (1986)). Thus, “[t]he strong public policy
 5   in favor of arbitration does not extend to those who are not parties to an arbitration
 6   agreement.” Comedy Club, Inc. v. Improv W. Assocs., 553 F.3d 1277, 1287 (9th Cir.
 7   2009) (citation omitted). For this reason, although it is true that questions “regarding
 8   the validity or enforcement of a putative contract mandating arbitration should be referred
 9   to an arbitrator,” this is not true for “challenges to the existence of a contract as a whole” -
10   which “must be determined by the court prior to ordering arbitration.” Sanford, 483
11   F.3d at 962 (emphasis added); see also Three Valleys Mun. Water Dist. v. E.F. Hutton &
12   Co., 925 F.2d 1136, 1140–41 (9th Cir. 1991). 1
13         Accordingly, challenges to the making of the arbitration agreement encompass “not
14   only challenges to the arbitration clause itself, but also challenges to the making of the
15   contract containing the arbitration clause.” Sanford, 483 F.3d at 962 (emphasis added).
16   Here, Plaintiff asserts the purported Settlement Agreement was never formed. Under
17   Sanford and the case law cited above, this is an issue that must be decided in this Court.
18         The Ninth Circuit’s recent decision in Casa del Caffe Vergnano S.P.A. v.
19   ItalFlavors, LLC, 816 F.3d 1208 (9th Cir. 2016) is instructive. There, as here, the contract
20   at issue contained an arbitration clause. Id. at 1211. The Court explained that “the
21   threshold issue” for the Court “is whether that document constituted a binding agreement
22   at all.”   Id.   “If it did not” then “it follows that the arbitration provision is not
23   enforceable.” Id. The Court concluded that because the asserted agreement “was a mere
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     District Courts in this Circuit are in accord. See, e.g., Doherty v. Barclays Bank
   Delaware, No. 16-CV-01131-AJB-NLS, 2017 WL 588446, at *3 (S.D. Cal. Feb. 14,
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   2017); Barraza v. Cricket Wireless LLC, No. C 15-02471 WHA, 2015 WL 6689396, at *3
27 (N.D. Cal. Nov. 3, 2015); Switch, LLC v. ixmation, Inc., No. 15-CV-01637-MEJ, 2015
   WL 4463672, at *3 (N.D. Cal. July 21, 2015) (same).
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                                                 -4-
                 PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
                                  MOTION TO COMPEL ARBITRATION
Case 2:18-cv-02217-SJO-FFM Document 30 Filed 04/09/18 Page 13 of 28 Page ID #:505



 1   sham” and not enforceable, there was no agreement to arbitrate. Id. at 1214.
 2          Importantly, even though EC contends there is a presumption in favor of
 3   arbitration, where as here, “the parties contest the existence of an arbitration agreement,
 4   the presumption in favor of arbitrability does not apply.” Goldman, Sachs & Co. v. City
 5   of Reno, 747 F.3d 733, 742 (9th Cir. 2014) (emphasis in original).
 6          EC misapplies the “crux of the complaint” rule, arguing that Plaintiff’s challenges
 7   to the Settlement Agreement must be decided by the arbitrator. In doing so, EC
 8   strategically conflates Plaintiff’s challenge to the formation of the Settlement Agreement
 9   with a challenge to the validity of the Settlement Agreement. 2 The Supreme Court in
10   Buckeye Check Cashing, Inc. v. Cardegna, recognized that “[t]he issue of the contract's
11   validity is different from the issue of whether any agreement between the alleged obligor
12   and obligee was ever concluded. Our opinion today addresses only the former, and does
13   not speak to the issue decided in the cases . . . which hold that it is for courts to decide
14   whether the alleged obligor ever signed the contract.” 546 U.S. 440, 444 n. 1 (2006)
15   (emphasis added). Indeed, the Supreme Court reaffirmed four years later that “where the
16   dispute at issue concerns contract formation, the dispute is generally for courts to decide.”
17   Granite Rock Co. v. Int’l Bhd. of Teamsters, 561 U.S. 287, 296 (2010).
18          B.     EC Does Not Have Standing to Compel Arbitration.
19          As a threshold matter, EC’s motion should be denied because EC has no standing to
20   compel Plaintiff to arbitrate. Simply put, the plain language of the arbitration clause
21   demonstrates there is no agreement to arbitrate between EC and Plaintiff.
22          Paragraph 5.2 of the Settlement Agreement, entitled “Dispute Resolution,” contains
23   the arbitration clause. It states, in relevant part:
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     2
25   For this reason, this Court’s opinion in Guadagno v. E*Trade Bank, 592 F. Supp. 2d
   1263 (C.D. Cal. 2008), is quoted out of context. The Court indicated that challenges to
26
   the “validity” of the entire contract would be for the arbitrator, but made no ruling
27 suggesting that challenges to the “formation” or “existence” of a contract containing an
   arbitration clause are for the arbitrator. Id. at 1271.
28
                                                 -5-
                 PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
                                  MOTION TO COMPEL ARBITRATION
Case 2:18-cv-02217-SJO-FFM Document 30 Filed 04/09/18 Page 14 of 28 Page ID #:506



 1                In recognition of the mutual benefits to DD and PP of a voluntary system of
                  alternative dispute resolution which involves binding confidential arbitration
 2                of all disputes which may arise between them, it is their intention and
 3                agreement that any and all claims or controversies arising between DD on
                  the one hand, and PP on the other hand, shall be resolved by binding
 4                confidential Arbitration to the greatest extent permitted by law.
 5   [Agreement, ¶5.2 (emphasis added).]
 6         Here, EC is not a party to the arbitration agreement nor is it even mentioned in the
 7   arbitration clause. “Generally, the contractual right to compel arbitration ‘may not be
 8   invoked by one who is not a party to the agreement and does not otherwise possess the
 9   right to compel arbitration.’” Kramer v. Toyota Motor Corp., 705 F.3d 1122, 1126 (9th
10   Cir. 2013)) (quoting Britton v. Co-op Banking Grp., 4 F.3d 742, 744 (9th Cir. 1993)); see
11   also Britton, 4 F.3d at 748 (non-party “lacked standing to enforce the arbitration clause.”);
12   Mundi v. Union Sec. Life Ins. Co., 555 F.3d 1042, 1045 (9th Cir. 2009). As a result, EC’s
13   motion must be denied.
14
           C.     Mr. Trump Does Not Petition to Compel Arbitration and Has Not Met
15                His Burden.
16         Because EC is the only moving party, Plaintiff cannot be compelled to arbitrate.
17   This is especially true because Mr. Trump has not filed his own motion to compel
18   arbitration. Rather, Mr. Trump, through his counsel, merely filed a “joinder” in support of
19   EC’s motion whereby he “consents.” [Dkt No. 21.] This “joinder,” however, does not
20   suffice under the record presently before the Court.
21         “A defendant seeking to compel arbitration has the burden of showing that an
22   agreement to arbitrate exists.” Guadagno v. E*Trade Bank, 592 F. Supp. 2d 1263, 1270
23   (C.D. Cal. 2008).    But Mr. Trump has failed to meet this burden.           The arbitration
24   agreement is between “DD” and “PP,” but Mr. Trump has not submitted any evidence
25   demonstrating he is DD. In addition, EC’s motion argues that Mr. Trump is not a party to
26   Settlement Agreement. [Dkt No. 20-1 at 7.] In fact, Mr. Trump’s counsel during meet
27   and confer discussions relating to this Motion refused to tell Plaintiff’s counsel whether
28   Mr. Trump is a party. [Avenatti Decl., ¶5.] This alone is dubious and remarkable.
                                                -6-
                PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
                                 MOTION TO COMPEL ARBITRATION
Case 2:18-cv-02217-SJO-FFM Document 30 Filed 04/09/18 Page 15 of 28 Page ID #:507



 1         Further, by failing to sign the Agreement or otherwise communicate his consent to
 2   the Agreement, Mr. Trump failed to make himself a party to the Agreement—precluding
 3   the very existence of the Agreement to begin with. [See Agreement, ¶8.6; section III(D),
 4   infra.] Nor do EC or Mr. Trump contend that Mr. Trump should be deemed a third-party
 5   beneficiary of the Settlement Agreement. Mr. Trump, therefore, has not met his burden.
 6         Moreover, as noted, Mr. Trump did not file his own motion to compel arbitration.
 7   In fact, he merely “joins” in EC’s motion, and, far from actually “seeking” to compel
 8   arbitration, he states passively that he “consents” to arbitration (whatever that means).
 9   The Federal Arbitration Act, however, requires more than merely “consenting” to
10   arbitration; a party aggrieved by another’s failure to arbitrate under a written agreement
11   must “petition . . . for an order directing that such arbitration proceed in the manner
12   provided for in such agreement.” 9 U.S.C. § 4 (emphasis added); Duferco Steel Inc. v.
13   M/V Kalisti, 121 F.3d 321, 326 (7th Cir. 1997) (“[B]ecause neither party petitioned the
14   district court for an order compelling arbitration, Duferco's contention that § 4 required
15   the district court to compel arbitration has no force.”); cf. S.E.C. v. Daifotis, No. C 11-
16   00137 WHA, 2011 WL 3295139, at *6–7 (N.D. Cal. Aug. 1, 2011) (disallowing
17   defendant’s “me too” joining in, and incorporation of, other defendant’s brief). Under the
18   facts of this case, this distinction carries substantive import.
19         Mr. Trump, therefore, should not be permitted to engage in a “shell game” before
20   this Court. He should not be allowed to, on the one hand, invoke “plausible deniability”
21   by distancing himself from the Agreement and thereby avoid the myriad of consequences
22   of associating himself with the Agreement, while at the same time he attempts to enjoy the
23   possible benefits of that very Agreement he claims to have nothing to do with.
24
           D.     No Agreement Was Formed Because Mr. Trump Failed to Sign the
25                Agreement and Deliver the Promised Consideration to Plaintiff.
26                1.     No Agreement Exists Because Mr. Trump’s Signature Was an
27
                         Express Condition to the Formation of the Agreement.

28
           The well-settled rule in California is that “‘[i]f the evidence shows that the
                                                 -7-
                 PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
                                  MOTION TO COMPEL ARBITRATION
Case 2:18-cv-02217-SJO-FFM Document 30 Filed 04/09/18 Page 16 of 28 Page ID #:508



 1   signatures of other parties were required as one of the conditions of the completed
 2   agreement, it is incomplete and not binding upon those who sign until the others sign.’”
 3   Roth v. Garcia Marquez, 942 F.2d 617, 626 (9th Cir. 1991) (quoting 1 Witkin, Summary
 4   of Cal. Law, Contracts § 143 (9th ed. 1987))). Stated differently, “[w]hen it is clear, both
 5   from a provision that the proposed written contract would become operative only when
 6   signed by the parties as well as from any other evidence presented by the parties that both
 7   parties contemplated that acceptance of the contract’s terms would be signified by signing
 8   it, the failure to sign the agreement means no binding contract was created.” Banner
 9   Entertainment, Inc. v. Superior Court, 62 Cal. App. 4th 348, 358 (1998).          This rule is
10   repeatedly, and routinely, applied by the Ninth Circuit, 3 District Courts in California, 4 and
11   California appellate courts. 5
12
     3 Roth, 942 F.2d at 626–27 (agreement not binding where author’s signature was a
13
     condition precedent); PSM Holding Corp. v. Nat'l Farm Fin. Corp., 339 F. App’x 693, 695
14   (9th Cir. 2009) (where “plain terms of the agreement dictate that no contract was formed
15   because the signature lines for” various parties “were left blank[,]” holding that “none of
     the parties could be liable under its terms.”).
16   4 Ortiz v. America’s Servicing Co., No. EDCV 12-191 CAS SPX, 2012 WL 2160953, at

17   *3 (C.D. Cal. June 11, 2012) (“[W]hen it is clear that the proposed written contract would
     become operative only when signed by the parties, the failure to sign the agreement
18
     means no binding contract was created.”) (quoting Grill v. BAC Home Loans Servicing
19   LP., No. 10-CV-03057-FCD/GGH, 2011 WL 127891, at *3 (E.D. Cal. Jan. 14, 2011));
     J.B. Enterprises Int'l, L.L.C. v. Sid & Marty Krofft Pictures Corp., No. CV 02-7779 CBM
20
     (SHX), 2003 WL 21037837, at *2 (C.D. Cal. Mar. 3, 2003) (“When the parties
21   contemplate that acceptance of a contract’s terms would be signified in writing, no
     binding contract is created when the parties fail to sign the agreement.”); Los Angeles
22
     Rams Football Club v. Cannon, 185 F. Supp. 717, 721-22 (S.D. Cal. 1960) (no contract
23   based on express condition requiring Commissioner approval where he did not sign).
     5 Rebolledo v. Tilly’s, Inc., 228 Cal. App. 4th 900, 923 (2014) (modification to original
24
     employment agreement signed by employee was unenforceable because it did not, as
25   required, contain the signatures of three of the employer’s executives); Romo v. Y–3
     Holdings, Inc., 87 Cal. App. 4th 1153, 1159–60 (2001) (affirming denial of motion to
26
     compel arbitration where employee handbook containing the arbitration agreement
27   contemplated signature from the employee and employee did not sign); Khajavi v. Feather
     River Anesthesia Med. Grp., 84 Cal. App. 4th 32, 61–62 (2000) (“[W]here the parties
28   Continued on the next page
                                                       -8-
                       PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
                                        MOTION TO COMPEL ARBITRATION
Case 2:18-cv-02217-SJO-FFM Document 30 Filed 04/09/18 Page 17 of 28 Page ID #:509



 1             Here, the Settlement Agreement is unequivocal: “Each of the Parties represents
 2   and warrants . . . that this Agreement, when signed by all Parties, is a valid and
 3   binding agreement, enforceable in accordance with its terms.” [Agreement, ¶8.6
 4   (emphasis added).] Despite this clear requirement, neither the Settlement Agreement nor
 5   the Side Letter Agreement were signed by Mr. Trump.
 6             In fact, execution of the Settlement Agreement and Side Letter Agreement was
 7   deemed so important, it is repeatedly mentioned throughout both documents, including in
 8   paragraph 4.3.2 which contains an “express acknowledgment that DD is executing this
 9   Agreement in reliance on” certain agreements, warranties and representations. [See also
10   Agreement, ¶¶3.3 (requiring delivery of property “[c]oncurrently upon execution of this
11   Agreement . . .”), 4.3(a) (“[E]ach Party acknowledges that she/he is executing this
12   Agreement” in reliance on certain “agreements, warranties, and representations . . . made
13   by DD . . .”), p. 14 (“IN WITNESS WHEREOF, by their signatures below, the Parties
14
     Continued from the previous page

15   understood that the proposed agreement is not complete until reduced to formal writing
     and signed, no binding contract results until this is done.”); Beck v. American Health, 211
16
     Cal. App. 3d 1555, 1562 (1989) (“[W]here it is part of the understanding between the
17   parties that the terms of their contract are to be reduced to writing and signed by the
     parties, the assent to its terms must be evidenced in the manner agreed on or it does not
18
     become a binding or a completed contract.”); Duran v. Duran, 150 Cal. App. 3d 176, 180
19   (1983) (same); De Mott v. Amalgamated Meat Cutters & Butcher Workmen of N. Am.,
     157 Cal. App. 2d 13, 25 (1958) (“When an agreement is signed and handed over with the
20
     understanding that it will not be used or become operative until it is signed by another
21   who is expected to join therein, it does not become a contract until the additional signature
     has been obtained.”); Am. Aeronautics Corp. v. Grand Cent. Aircraft Co., 155 Cal. App.
22
     2d 69, 80 (1957) (“[W]hen it is a part of the understanding between the parties that the
23   terms of their contract are to be reduced to writing and signed by the parties, the assent to
     its terms must be evidenced in the manner agreed upon, or it does not become a binding or
24
     completed contract.”); Lyne v. Bonner, 129 Cal. App. 2d 743, 746 (1954) (contract signed
25   by three of four owners not binding on any of the owners); Helperin v. Guzzardi, 108 Cal.
     App. 2d 125, 128 (1951) (“When an agreement is signed and handed over with the
26
     understanding that it will not be used or become operative until it is signed by another
27   who is expected to join therein, it does not become a contract until the additional signature
     is obtained.”)
28
                                                       -9-
                       PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
                                        MOTION TO COMPEL ARBITRATION
Case 2:18-cv-02217-SJO-FFM Document 30 Filed 04/09/18 Page 18 of 28 Page ID #:510



 1   each have approved and executed this Agreement as of the effective date first set forth
 2   above.”); Side Letter Agreement, p. 2 (“By signing below, each of the Parties signifies
 3   their agreement to the terms hereof and each of their respective counsel signify their
 4   approval as to the form of this letter agreement.”).]
 5         The circumstances here are thus strikingly similar to Banner and Roth, and are
 6   indistinguishable from the litany of cases cited above. In short, Mr. Trump’s failure to
 7   sign the Settlement Agreement is fatal and ends the Court’s inquiry. No contract was ever
 8   formed, and hence, there is no agreement to arbitrate.
 9         EC’s reliance on Kaneko v. Okuda, 195 Cal. App. 2d 217 (1961), is unavailing.
10   Indeed, the very excerpt quoted by EC states “[i]n the absence of a showing that a
11   contract is not to be deemed complete unless signed by all parties, the parties signing may
12   be bound though others have not signed.”          Id. (emphasis added).   Here, unlike the
13   defendants in Kaneko, Plaintiff has made such a showing - Paragraph 8.6 of the
14   Agreement clearly provides that no agreement is formed unless signed by all parties.
15
                  2.     Mr. Trump Was Incapable of Consenting to a Contract Which
16                       Imposed Duties on Him That He Was Supposedly Unaware Of.
17          “[T]here is no contract until there has been a meeting of the minds on all material
18   points.” Banner, 62 Cal. App. 4th at 357–58. Consent is an essential element of a
19   contract. Cal. Civ. Code § 1550. The “failure to reach a meeting of the minds on all
20   material points prevents the formation of a contract even though the parties have orally
21   agreed upon some of the terms, or have taken some action related to the contract.”
22   Bustamante v. Intuit, Inc., 141 Cal. App. 4th 199, 215 (2006) (emphasis in original).
23   “Further, the consent of the parties to a contract must be communicated by each party to
24   the other.” Esparza v. Sand & Sea, Inc., 2 Cal. App. 5th 781, 788 (2016) (citing Cal. Civ.
25   Code §1565(3)).        Consequently, “where the parties to a ‘contract’ have not
26   mutually consented to be bound by their agreement, they have not formed a true contract.”
27   Casa del Caffe, 816 F.3d at 1212.
28         Here, the fundamental element of consent cannot exist. If Mr. Trump and Mr.
                                               -10-
                PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
                                 MOTION TO COMPEL ARBITRATION
Case 2:18-cv-02217-SJO-FFM Document 30 Filed 04/09/18 Page 19 of 28 Page ID #:511



 1   Cohen are to be believed (a matter that will have to be tested in discovery), Mr. Trump
 2   never consented to the Settlement Agreement because he never even knew about it. And
 3   further, without knowledge of the Agreement and his obligations under the Agreement, he
 4   could not have possibly communicated his consent. See Esparza, 2 Cal. App. 5th at 788.
 5   Indeed, if he knew nothing about the Agreement, Mr. Trump could not have possibly
 6   consented to provide the consideration he owed to Plaintiff.
 7         EC’s signature on the Settlement Agreement is insufficient to create a contract for
 8   several reasons. First, as argued above, the signature of all parties was an express
 9   condition of the contract. Second, nothing in the contract indicates that EC was acting as
10   Mr. Trump’s agent (nor do EC or Mr. Cohen argue that they were acting as such). EC is
11   described as a separate party to the Agreement and, more to the point, if Mr. Trump did
12   not even know about the Agreement or the payment, then no such agency could have been
13   created. Third, and perhaps most important, Mr. Trump is not a passive third-party
14   beneficiary of the Settlement Agreement. 6 To the contrary, Mr. Trump is a party who was
15   required to deliver material consideration to Plaintiff. Specifically:
16   •     As the title indicates, the contract is a “Settlement Agreement and Mutual Release”
17
           which recognizes the parties’ desire to avoid “potential litigation” and defines
           potential claims of Plaintiff and of Mr. Trump as the “PP Claims” and the “DD
18         Claims,” respectively. [Agreement, ¶¶2.2(a), 2.2(b), 2.5.]
19   •     Mr. Trump was required to release Plaintiff of liability for the “DD Claims.”
20         Specifically, paragraph 6.1 of the Agreement states in part that: “DD . . . discharges
           PP . . . from any and all claims, . . . actions and causes of actions of every kind and
21
     6 EC does not argue it was Mr. Trump’s agent, or that Mr. Trump is a third-party
22   beneficiary, and Plaintiff would object to any such argument being introduced for the first
23
     time on Reply. Indeed, any arguments Defendants have failed to raise in their moving
     papers must be deemed waived. Estakhrian v. Obenstine, 320 F.R.D. 63, 91 (C.D. Cal.
24
     2017) (argument not raised in opening brief was waived). Further, a “third-party
     beneficiary is not a third-party obligor.” Comer v. Micor, Inc., 278 F.Supp.2d 1030, 1041
25
     (N.D. Cal. 2003) (emphasis in original) (citing Abraham Zion Corp. v. Lebow, 761 F.2d
     93, 103 (2d Cir.1985) (holding agreement could not be enforced against alleged third-
26
     party beneficiary of agreement); Motorsport Eng’g, Inc. v. Maserati SPA, 316 F.3d 26, 29
     (1st Cir. 2002) (“But the third-party beneficiary, who did not sign the contract, is not
27
     liable for either signatory's performance and has no contractual obligations to either.”)
     Here, Mr. Trump owed affirmative obligations to Plaintiff and thus was an intended party,
28
     and not a third-party beneficiary.
                                               -11-
                PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
                                 MOTION TO COMPEL ARBITRATION
Case 2:18-cv-02217-SJO-FFM Document 30 Filed 04/09/18 Page 20 of 28 Page ID #:512



 1         nature whatsoever, . . . from the beginning of time to the effective date of this
           Agreement . . .”
 2
     •     Mr. Trump’s release obligations are reinforced earlier in the Agreement: “[t]he
 3         Parties agree that the claims released include but are not limited to DD’s claims
 4         against PP” relating to disclosure of certain property to others and includes a release
           from “any harm suffered by DD therefrom.” [Agreement, ¶2.5.] This provision,
 5         along with others, is described as “essential, integral, and material terms of this
 6         Agreement.” [Agreement, ¶2.6.]
 7   •     Mr. Trump was also obligated to provide certain representations and warranties to
           Plaintiff, along with a covenant not to sue. Paragraph 4.3(a) of the Agreement is
 8
           titled “Representations & Warranties & Agreements By DD” and acknowledges
 9         “agreements, warranties and representations made by DD[.]”
10   •     Specifically, pursuant to paragraph 4.3(b) of the Agreement:
11                DD warrants and represents that, as relates to or in connection with any of
12                PP’s attempts to sell, exploit and/or disseminate the Property prior to the date
                  of this Agreement, DD and his counsel will refrain (i) from pursuing any civil
13
                  action against PP, and/or (ii) absent a direct inquiry from law enforcement,
14                from disclosing PP’s name to the authorities.
15   •     Paragraph 4.3(a) states that the paragraph 4.3(b) “agreements, warranties and
           representations are made by DD as material inducements to PP to enter into this
16
           Agreement, and each Party acknowledges that she/he is executing this Agreement
17         in reliance thereon[.]” [Agreement, ¶4.3(a) (emphasis added).]
18         In sum, the necessity of Mr. Trump’s consent to the Settlement Agreement, and his
19   express agreement to accept the obligations imposed on him, are self-evident.7           No
20   agreement, therefore, was ever formed. EC’s motion must be denied.
21                3.    EC’s Argument Regarding Adequacy of Consideration Is
22                      Irrelevant to this Motion.
23         EC contends that Plaintiff received adequate consideration under the Settlement
24   Agreement by her receipt of $130,000 for EC. EC’s argument is a red herring. The
25   relevant issue is not whether $130,000 is sufficient consideration to support a hypothetical
26   7
     Nor can Mr. Trump argue that the $130,000 payment was a communication of his
27 acceptance of his obligations under the Agreement. According to Mr. Trump, the payment
   was made by EC, not Mr. Trump. [Agreement, ¶3.0.1.1.]
28
                                               -12-
                PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
                                 MOTION TO COMPEL ARBITRATION
Case 2:18-cv-02217-SJO-FFM Document 30 Filed 04/09/18 Page 21 of 28 Page ID #:513



 1   contract between Plaintiff and EC. That is not the contract Plaintiff understood she was
 2   entering into when she signed the Settlement Agreement. [Clifford Decl., ¶5.] Rather, the
 3   real question is whether Plaintiff received the consideration she actually bargained for
 4   under the Settlement Agreement—namely, the releases, representations and warranties,
 5   and covenant not to sue, from Mr. Trump. Recognizing she did not, EC asks the Court to
 6   ignore the Settlement Agreement and rewrite it to create a new contract. But Clifford
 7   cannot be bound to an entirely different contract than the one she assented to simply
 8   because she received something.
 9
           E.    The Presence of the Term “And/Or” in the Agreement in Connection
10               With the Parties Does Not Save the Agreement.
11         Under California law, “[i]t is essential not only that the parties to [a] contract exist,
12   but that it is possible to identify them.” Jackson v. Grant, 890 F.2d 118, 121 (9th Cir.
13   1989) (citing Cal. Civ. Code § 1558). Here, the Settlement Agreement is unintelligible as
14   to the intended parties to the Agreement. Thus, no valid contract was formed.
15         Paragraph 1.1 of the Settlement Agreement states, in part, the following:
16
                 This Settlement Agreement and Mutual Release . . . is made . . . by and
17               between “EC, LLC” and/or DAVID DENNISON, (DD), on the one part, and
                 PEGGY PETERSON, (PP), on the other part. (“EC, LLC,” “DD” and “PP”
18
                 are pseudonyms whose true identity will be acknowledged in a Side Letter
19               Agreement attached hereto as “EXHIBIT A”)
20         “The expression ‘and/or’ . . . has met with widespread condemnation.” Ex parte
21   Bell, 19 Cal. 2d 488, 499 (1942). 8 Accordingly, the use of “and/or” gives “rise to
22

23   8See also Herbert H. Post & Co. v. Sidney Bitterman, Inc., 219 A.D.2d 214, 223, 639
     N.Y.S.2d 329 (1996) (the “use of ‘and/or’ has been roundly condemned as a ‘deliberate
24
     amphibology, susceptible of more than one interpretation and . . . a purposefully
25   ambiguous expression, useful in its self-evident equivocality.’”) (citation and quotation
     omitted); Bank Bldg. & Equip. Corp. of Am. v. Georgia State Bank, 132 Ga. App. 762,
26
     765, 209 S.E.2d 82, 84 (1974) (same); Ollilo v. Clatskanie Peoples’ Util. Dist., 170 Or.
27   173, 180, 132 P.2d 416, 419 (1942) (“Courts struggle with ‘and/or’ to determine what it
     means and generally end in bewilderment.”).
28
                                               -13-
                PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
                                 MOTION TO COMPEL ARBITRATION
Case 2:18-cv-02217-SJO-FFM Document 30 Filed 04/09/18 Page 22 of 28 Page ID #:514



 1   multiple meanings” and “it can mean either or it can mean both.” Dinkins v. Am. Nat’l
 2   Ins. Co., 92 Cal. App. 3d 222, 232 (1979), disapproved of on other grounds by Moore v.
 3   Am. United Life Ins. Co., 150 Cal. App. 3d 610 (1984). In California Shipbuilding Corp.
 4   v. Indus. Acc. Comm’n, 85 Cal. App. 2d 435, 436 (1948), for example, the Court held that
 5   the use of the words “and/or” in an order of a public commission rendered the
 6   commission’s finding and award in favor of the employee “indefinite, uncertain and
 7   unintelligible” because there was no way of determining if the finding was against the
 8   employer, the managing representative, or both. Similarly, in Main Line Pictures, Inc. v.
 9   Basinger, the Court held that a special verdict in favor of the plaintiff against “Basinger
10   and/or Mighty Wind” are “prejudicially ambiguous and require reversal” because it was
11   unclear whether the jury found that the contract at issue was breached by the actress Kim
12   Basinger, her “loan-out” corporation Mighty Wind, or both. No. B077509, 1994 WL
13   814244, at *6 (Cal. Ct. App. Sept. 22, 1994). 9
14         Plaintiff also proffers the declaration of Professor Lawrence Solan. [Declaration of
15   Lawrence Solan (“Solan Decl.”), ¶1.] Professor Solan is a leading expert in the field of
16   linguistic analysis and the law and is the author of the book The Language of Judges in
17   which he devotes a section discussing issues that arise concerning the interpretation of the
18   words “and” and “or.” [Id., ¶¶2-6.] According to Professor Solan, “and/or” leads to
19   “interpretive problems” and, as used in the Agreement, “it is not clear who the parties
20   actually are.” [Id., ¶11.] He explains that “read alone,” paragraph 1.1 “causes too much
21   uncertainty and ambiguity” and makes it “necessary to examine other provisions in the
22   Agreement.” [Id., ¶13.] He concludes these provisions taken together “strongly imply
23   that DD was intended to be understood to be a party to the Agreement.” [Id., ¶15.]
24         Here, read in isolation, the plain language of paragraph 1.1 provides no clarity on
25   who the parties are to the Settlement Agreement. By stating that the agreement is “by and
26
     9
27    District courts may rely on California unpublished decisions as “persuasive authority.”
     See CPR for Skid Row v. City of Los Angeles, 779 F.3d 1098, 1117 (9th Cir. 2015).
28
                                               -14-
                PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
                                 MOTION TO COMPEL ARBITRATION
Case 2:18-cv-02217-SJO-FFM Document 30 Filed 04/09/18 Page 23 of 28 Page ID #:515



 1   between ‘EC, LLC’ and/or DAVID DENNISON, (DD), on the one part,” the Agreement
 2   leaves open the question of whether (1) only EC, (2) only Mr. Trump, or (3) both EC and
 3   Mr. Trump are intended parties. Indeed, the Agreement does not specify that EC (or any
 4   individual party for that matter) holds the option of deciding who is a party, and who is
 5   not a party, to the Agreement. Significantly, DD and David Dennison’s signature lines
 6   and identities are not crossed out on the Settlement Agreement or Side Letter Agreement.
 7   Moreover, although the Settlement Agreement states that the true identities of “EC, LLC,”
 8   “DD,” and “PP” are revealed in the Side Letter Agreement, the Side Letter Agreement
 9   itself compounds the hopeless ambiguity of the identity of the parties because there is no
10   signature from Mr. Trump confirming that he is the “David Dennison” and “DD”
11   identified in the Settlement Agreement. Nor does the Side Letter Agreement, which
12   provides that it is “deemed part of” the Settlement Agreement by way of amendment, use
13   the term “and/or” to describe the parties. Instead, it lists all three parties while repeatedly
14   using the term “the Parties.” Importantly, Plaintiff understood at all times that Mr. Trump
15   was an intended party of the Settlement Agreement. [Clifford Decl., ¶6.]
16         In any event, paragraph 1.1 cannot be read in isolation. Rather, it is a well-
17   settled rule of contract interpretation that the “whole of a contract is to be taken together,
18   so as to give effect to every part, if reasonably practicable, each clause helping to interpret
19   the other.” Cal. Civ. Code § 1641; see also In re Captain Blythers, Inc., 311 B.R. 530,
20   536 (B.A.P. 9th Cir. 2004) (“[U]nder California law, ‘one phrase of a contract should not
21   be interpreted so as to render another phrase of the contract meaningless’”); Monterey
22   Bay Unified Air Pollution Control Dist. for People of State of California v. U.S. Dep’t of
23   Army, 176 F. Supp. 2d 979, 988 (N.D. Cal. 2001) (settlement agreement like any contract
24   “must be interpreted as a whole.”).
25         Applying this rule of contract interpretation to the Settlement Agreement, EC’s
26   attempted construction to exclude Mr. Trump as a party negates large, essential portions
27   of the Agreement and the consideration Plaintiff was to receive under the contemplated
28   agreement had it been finalized. As noted above, Mr. Trump was required to provide to
                                               -15-
                PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
                                 MOTION TO COMPEL ARBITRATION
Case 2:18-cv-02217-SJO-FFM Document 30 Filed 04/09/18 Page 24 of 28 Page ID #:516



 1   Plaintiff releases, representations and warranties, and a covenant not to sue. [Agreement,
 2   ¶¶2.2, 2.5, 2.6, 4.3(a), 4.3(b), 6.1.] Mr. Trump’s releases were among “essential, integral
 3   and material terms” of the Settlement Agreement [Agreement, ¶¶2.5-2.6], and the
 4   representations and warranties made by Mr. Trump were “material inducements” to
 5   Plaintiff to enter into the Settlement Agreement. [Agreement, ¶4.3(a) (emphasis added).]
 6   The presence of these provisions is inconsistent with the notion that Mr. Trump was not
 7   intended to be a party to the Settlement Agreement. Nothing in the Agreement suggests
 8   that this essential consideration could be supplied by EC rather than Mr. Trump.
 9         As further evidence that Mr. Trump is an intended party of the Settlement
10   Agreement, the Settlement Agreement also contemplates that Mr. Trump is a party by
11   acknowledging throughout the Agreement that he is “entering” into the Agreement.
12   [Agreement, ¶¶2.4, 4.3.2, 4.3.3.] The Agreement also grants remedies and enforcement
13   rights exclusively to Mr. Trump, including the right to seek damages, obtain injunctive
14   relief, and (as discussed above) to enforce the arbitration clause. [Id., ¶¶5.1-5.2.] None of
15   these rights are conferred upon EC. Further, all duties Plaintiff is contemplated to owe
16   under the Settlement Agreement extend only from Plaintiff to Mr. Trump. [See, e.g.,
17   Agreement, ¶¶3.1, 3.2, 3.3, 4.3.2, 4.3.6.] No obligations are owed to EC. Nor is EC
18   granted any rights or authorities to take action, or receive consideration, on behalf of Mr.
19   Trump.     In fact, EC is mentioned by name only six (6) times in the Settlement
20   Agreement, whereas Mr. Trump (i.e., “DD”) is mentioned over 130 times.
21         In sum, the only rational interpretation of the plain text of the Settlement
22   Agreement is that the Agreement could not possibly exist without Mr. Trump and that he
23   is therefore an intended party who was required to sign the Agreement for it to have been
24   finalized. At the very minimum, the Agreement is vague as to the identity of the parties.
25   For these additional reasons, no contract was formed in this case and thus, there is no
26   agreement to arbitrate. EC’s motion should be denied.
27         F.     Plaintiff’s Signature on the Settlement Agreement and Her Acceptance
                  of Funds Did Not Create a Contract.
28
                                               -16-
                PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
                                 MOTION TO COMPEL ARBITRATION
Case 2:18-cv-02217-SJO-FFM Document 30 Filed 04/09/18 Page 25 of 28 Page ID #:517



 1         EC argues that Plaintiff’s signature on the Settlement Agreement, her acceptance of
 2   the $130,000 payment, and her refraining from filing suit until March 2018 were sufficient
 3   to create a contract. EC’s contentions are without merit for several reasons.
 4         First, EC’s argument ignores the indisputable fact that the Settlement Agreement
 5   called upon Mr. Trump himself to provide additional consideration to Plaintiff above and
 6   beyond the $130,000 payment from EC. [Agreement, ¶¶2.2, 2.5, 2.6, 4.3(a), 4.3(b), 6.1.]
 7   In other words, the purpose of the Settlement Agreement was to resolve potential
 8   litigation, not simply to pay money to Plaintiff. Because Mr. Trump never completed the
 9   Agreement by providing his signature on the Agreement, no contract came into existence.
10         Second, EC ignores the express condition of the Settlement Agreement requiring
11   Mr. Trump to sign the Agreement. [See Agreement, ¶8.6.] This ends the inquiry. EC
12   cannot point to mere conduct to circumvent the plain language of the Agreement, and
13   further, cannot point to any case law where a court has cast aside an express condition
14   requiring signature even where acts of performance or conduct are shown. In fact, the
15   very same argument advanced by EC was rejected in J.B. Enterprises, 2003 WL
16   21037837. There, the letter of intent at issue explicitly stated that the obligation to
17   complete a stock purchase would only arise upon the signing of a purchase agreement.
18   The Court thus concluded that “[t]he parties never executed the Purchase Agreement and
19   they are not bound by the terms of the draft agreement. The Krofft Group may not look to
20   the parties’ conduct to imply that the Letter of Intent contains an obligation that
21   contradicts the express language of the Letter of Intent.” Id. at *3 (emphasis added); see
22   also PSM Holding, 339 F. App’x at 694 (“The extrinsic evidence regarding the parties’
23   behavior . . . cannot substitute for the parties' signatures on the agreement.”); Davison v.
24   Stephens Inst., No. A138953, 2014 WL 6654690, at *5 (Cal. Ct. App. Nov. 24, 2014) (the
25   defendant’s “mere acts of performance” of “allowing [the plaintiff] to teach and paying
26   him—cannot validate the agreements without the required signature.”)
27         Third, EC’s reliance on California Civil Code section 1589 is misplaced. Section
28   1589 states that “[a] voluntary acceptance of the benefit of a transaction is equivalent to a
                                               -17-
                PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
                                 MOTION TO COMPEL ARBITRATION
Case 2:18-cv-02217-SJO-FFM Document 30 Filed 04/09/18 Page 26 of 28 Page ID #:518



 1   consent to all the obligations arising from it, so far as the facts are known, or ought to be
 2   known, to the person accepting.”        Cal. Civ. Code § 1589 (emphasis added).          EC
 3   conveniently ignores the italicized portion of the statute. Here, Plaintiff understood that
 4   she was entering into a contract with Mr. Trump, was unaware that Mr. Trump did not
 5   sign the agreement, and had no idea that Mr. Trump would later claim that he was not a
 6   party. [Clifford Decl., ¶¶5-6.] Thus, it was not “known” to Plaintiff that Mr. Trump
 7   would take the position that he is not a party to the Settlement Agreement. That he now
 8   so claims after the fact is no different from EC and Mr. Trump attempting to introduce
 9   new terms of the Agreement that Plaintiff never consented to. See, e.g., Robinson v.
10   OnStar, LLC, No. 16-56412, 2018 WL 1323630, at *1 (9th Cir. Mar. 15, 2018) (applying
11   section 1589 and reversing district court decision dismissing complaint pursuant to
12   arbitration clause because the plaintiff cannot be deemed to have accepted additional
13   terms and conditions after activation of subscription); Knutson v. Sirius XM Radio Inc.,
14   771 F.3d 559, 566 (9th Cir. 2014); Perez v. DirecTV Grp. Holdings, LLC, 251 F. Supp. 3d
15   1328, 1340 (C.D. Cal. 2017).
16         Fourth, EC’s reliance on Plaintiff’s “subsequent conduct” is also unavailing.
17   Plaintiff’s conduct was based on the understanding that Mr. Trump was a party to the
18   Settlement Agreement, which included his obligations to provide consideration to
19   Plaintiff. Reliance on conduct to interpret a contract requires that “such acts must be
20   direct, positive, and deliberate, and must show that the acts so done were done in an
21   attempted compliance with the terms of the contract or agreement.” Barnhart Aircraft v.
22   Preston, 212 Cal. 19, 24–25 (1931). Relying on this principle, the Ninth Circuit rejected
23   the argument that conduct supported the defendant’s interpretation of a contract involving
24   music royalties where the plaintiff received statements for years, but only became aware
25   the parties were not interpreting the contract in the same manner after the statements were
26   audited. See F.B.T. Prods., LLC v. Aftermath Records, 621 F.3d 958, 966-67 (9th Cir.
27   2010); see also Evox Prods. LLC v. Kayak Software Corp., No. CV15-5053 PSG
28   (AGRX), 2017 WL 5634858, at *7 (C.D. Cal. Apr. 4, 2017) (post-contract conduct did not
                                               -18-
                PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
                                 MOTION TO COMPEL ARBITRATION
Case 2:18-cv-02217-SJO-FFM Document 30 Filed 04/09/18 Page 27 of 28 Page ID #:519



 1   support defendant’s interpretation when plaintiff was unaware of defendant’s breach).
 2         Finally, EC’s proposed handling of the Settlement Agreement is ill equipped to
 3   address a very important problem: If Plaintiff’s acceptance of the $130,000 and her
 4   signature created a binding settlement agreement exclusively between Plaintiff and EC
 5   (and not Mr. Trump or DD), what exactly are the terms of that agreement? In other
 6   words, if Mr. Trump is not a party to the agreement, then which parts, if any, of the
 7   Settlement Agreement survive?       As noted above, EC’s only role in the Settlement
 8   Agreement was payment of the $130,000. EC has no rights of enforcement. EC is not
 9   entitled to seek remedies. EC is not a party to the arbitration clause. Further, the
10   “Settlement Agreement” is to resolve potential litigation between Plaintiff and Mr. Trump,
11   not between Plaintiff and EC. Moreover, EC does not claim (nor can it claim) that it was
12   Mr. Trump’s agent, that it was authorized to provide releases, and representations and
13   warranties, on behalf of Mr. Trump, or that the Agreement was structured to make Mr.
14   Trump a beneficiary as opposed to a contracting party. 10
15
           G.     Defendants’ Position that Mr. Trump Was Not a Contemplated Party
16                Constitutes Fraud in the Execution Rendering the Agreement Void.
17         “California law distinguishes between fraud in the ‘execution’ or ‘inception’ of a
18   contract and fraud in the ‘inducement’ of a contract.” Duick v. Toyota Motor Sales,
19   U.S.A., Inc., 198 Cal. App. 4th 1316, 1320 (2011). “Fraud in the inception” as opposed to
20   fraud in the inducement, “will render a contract ‘wholly void, despite the parties’ apparent
21   assent to it, when, ‘without negligence on his part, a signer attaches his signature to a
22   paper assuming it to be a paper of a different character.’” Id. at 1321 (emphasis in
23   original). “[C]laims of fraud in the execution of the entire agreement are not arbitrable
24

25   10
     To the extent the Court finds it relevant to its analysis, Plaintiff notes that although not
   ripe for the Court on the present motion (and not raised by the pleadings in the case),
26
   Plaintiff makes no argument that she is entitled to both a judgment declaring the
27 Settlement Agreement void and retention of the $130,000 payment. Plaintiff is thus
   prepared to return the money if so ordered by the Court.
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                                               -19-
                PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
                                 MOTION TO COMPEL ARBITRATION
Case 2:18-cv-02217-SJO-FFM Document 30 Filed 04/09/18 Page 28 of 28 Page ID #:520



 1   under either state or federal law” because if “the entire contract is void ab initio because
 2   of fraud, the parties have not agreed to arbitrate any controversy.” Rosenthal v. Great W.
 3   Fin. Sec. Corp., 14 Cal. 4th 394, 416 (1996); see also DKS, Inc. v. Corp. Bus. Sols., Inc.,
 4   675 F. App’x 738, 739 (9th Cir. 2017) (affirming denial of motion to compel arbitration
 5   based on allegation that the contract was void due to fraud in the execution.).
 6         Here, Plaintiff believed, and was led to believe, that the contemplated Agreement
 7   was between herself and Mr. Trump to settle possible claims between the two of them.
 8   [Clifford Decl., ¶¶5-6.] This understanding was, as discussed above, reasonable based on
 9   the language of the document itself and the promises and consideration offered therein.
10   Indeed, the Agreement itself specifically represents that Mr. Trump makes certain
11   warranties and promises, and provides releases to Plaintiff, which would necessarily
12   imply that he is a party to the Agreement.
13         To the extent that EC now seeks to seize upon the ambiguity of the use of “and/or”
14   to allow Mr. Trump to evade association with the contemplated Settlement Agreement,
15   the Agreement was plainly drafted “in such a way as to conceal from [Plaintiff] the true
16   nature” of the document and the fact that EC either had no authority to bind Mr. Trump or
17   that Mr. Trump was not in fact releasing any potential claims against Plaintiff. Duick,
18   198 Cal. App. 4th at 1322. Consequently, a fraud was committed against Plaintiff and the
19   alleged agreement is void along with any arbitration clause contained therein. Id.
20   IV.   CONCLUSION
21         For the reasons set forth above, Plaintiff respectfully requests that the Court stay
22   consideration of EC’s Motion to Compel Arbitration (to which Mr. Trump “consents”) to
23   allow the completion of discovery and the FAA section 4 jury trial. In the alternative,
24   Plaintiff requests the Court deny EC’s motion (in which Mr. Trump joins) in its entirety.
25   Dated: April 9, 2018                   AVENATTI & ASSOCIATES, APC
26                                          By:        /s/ Michael J. Avenatti
                                                Michael J. Avenatti
27                                              Ahmed Ibrahim
                                                Attorneys for Plaintiff Stephanie Clifford
28                                              a.k.a. Stormy Daniels a.k.a. Peggy Peterson
                                               -20-
                PLAINTIFF’S OPPOSITION TO DEFENDANT ESSENTIAL CONSULTANTS, LLC’S
                                 MOTION TO COMPEL ARBITRATION
